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       Agenda47: Using Impoundment to Cut
       Waste, Stop Inflation, and Crush the
       Deep State
       June 20, 2023




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       Bedminster, NJ— Today, President Donald J. Trump announced his plan to restore
       executive branch impoundment authority to cut waste, stop inflation, and crush the

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       Deep State.

       “For 200 years under our system of government, it was undisputed that the President
       had the Constitutional power to stop unnecessary spending through what is known
       as Impoundment," President Trump said.

       “Very simply, this meant that if Congress provided more funding than was needed to
       run the government, the President could refuse to waste the extra funds, and instead
       return the money to the general treasury and maybe even lower your taxes, although
       we did give you the biggest tax reduction in history, and the biggest regulation
       reduction in history, two things I am very proud of."

       President Trump’s plan will naturally lead the Executive and Legislative Branches to
       work together to negotiate and gain better control of federal spending.

       “I will use the president’s long-recognized Impoundment Power to squeeze the
       bloated federal bureaucracy for massive savings. This will be in the form of tax
       reductions for you. This will help quickly to stop inflation and slash the deficit."



       PRESIDENT TRUMP’S PLAN TO RESTORE EXECUTIVE BRANCH IMPOUNDMENT
       AUTHORITY TO CUT WASTE, STOP INFLATION, AND CRUSH THE DEEP STATE

       PRESIDENT TRUMP WILL RESTORE THE IMPOUNDMENT POWER OF THE
       EXECUTIVE BRANCH:

       - President Trump will restore the Impoundment Power, reestablishing the balance
       of power between the Legislative and the Executive branches.

       - On Day One, President Trump will direct federal agencies to identify portions of
       their budgets where massive savings are possible through the Impoundment Power,
       while maintaining the same level of funding for defense, Social Security, and
       Medicare.

       - President Trump will take action to challenge the constitutionality of limits placed
       on the Impoundment Power by the Congressional Budget and Impoundment
       Control Act of 1974 (CBA), the source of Congress’s usurpation of Executive Branch
       powers.
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       - President Trump will also work with Congress to overturn the limits of the CBA.

       - In passing the CBA, Congress handcuffed the president from preventing wasteful
       spending.

       - The CBA dramatically limited impoundment, the power of the president to choose
       not to unnecessarily spend taxpayer dollars, forcing the executive branch to spend
       every penny of congressionally appropriated funds.

       - Under current law, the president can request rescissions of funds, but those
       requests must be approved by both houses of Congress. The president can only defer
       the use of funds in limited instances.

       - Leading constitutional scholars agree that impoundment is an inherent power of
       the president.

       - Congress has the “power of the purse,” so its appropriations necessarily set a ceiling
       on federal spending for a particular purpose, but it should not set the floor.

       - Article II of the Constitution vests the president with the inherent authority to “take
       Care that the Laws be faithfully executed,” which has historically been understood to
       mean that the president can impound funds when doing so allows him to enforce
       the law more effectively and efficiently.

       - In defense of the president’s impoundment power against attacks from Congress,
       Joseph Sneed, Deputy Attorney General under President Richard Nixon, explained
       that the use of executive impoundment “to promote fiscal stability is not usurpation;
       rather it is in the great tradition of checks and balances upon which our Constitution
       is based.”

       - Restoring the Impoundment Power will naturally lead the Executive and Legislative
       Branches to have to work together to negotiate and gain better control of federal
       spending.

       - Although Congress has the power to appropriate funds, inherent within the
       president’s power to execute the law is a measure of discretion on how funds are
       spent, because spending decisions often depend on how laws are executed in
       practice.
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       - The CBA placed crippling burdens on the use of impoundment authority and on
       the president’s negotiating leverage with Congress over how taxpayer dollars are
       spent, leaving Congress with virtually unchecked budget authority.

       EXECUTIVE BRANCH’S USE OF ITS CONSTITUTIONAL IMPOUNDMENT POWER
       DATES BACK TO THE EARLIEST DAYS OF THE REPUBLIC:

       - The Executive Branch Impoundment Power traces its roots to the Jefferson
       Administration and the earliest days of the American Republic.

       - In 1803, after France refused the U.S. access to the Port of New Orleans, Congress
       appropriated funding for 15 gunboats. President Jefferson refused to spend the
       money after determining that the purchase of the gunboats would jeopardize
       negotiations with the French.

       - In his third annual message to Congress explaining why he had not purchased the
       gunboats as authorized by Congress, President Jefferson declared that a “favorable
       and peaceable turn of affairs on the Mississippi rendered an immediate execution of
       that law unnecessary.” President Jefferson used his power as the Chief Executive to
       impound congressionally appropriated funds based on his foreign policy and
       national security judgment that the use of the funds would be unwise and
       unnecessary.

       - For 170 years, from President Jefferson to President Nixon, the chief executive
       routinely used the Impoundment Power to further national interests.

       - In the 19th century, presidents James Buchanan and Ulysses S. Grant used
       impoundment in the context of domestic policy to prevent the use of funds to build
       post offices in Illinois and construct river and harbor improvements.

       - Democratic administrations, such as those of Franklin Roosevelt, Harry Truman,
       John F. Kennedy, and Lyndon B. Johnson, also exercised the Impoundment Power.

       - Today, the Impoundment Power is regularly used by 43 governors across the U.S.

       PRESIDENT TRUMP’S RESTORATION OF THE EXECUTIVE BRANCH
       IMPOUNDMENT POWER WILL BE AN EFFECTIVE TOOL IN FIGHT AGAINST
       WASTEFUL SPENDING:
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       - Since the CBA, wasteful overspending has exploded out of control.

       - Congress has run deficits in all but four years since 1974.

       - In 1974, the national debt was $475 Billion and 31 percent of the GDP. Today, it is
       $30.8 trillion and 123 percent of the GDP.

       - Since the CBA was enacted, the federal debt has never gone below its 1974 level.

       - Improper payments, payments made incorrectly by the federal government, cost
       the U.S. $247 billion in 2022.

       - The U.S. government has lost nearly $2.4 trillion in simple payment errors over the
       last two decades.

       - For 50 years, Congress has used the CBA to force the passage of gigantic, wasteful
       spending packages.

       - Since the CBA, Congress has adopted a budget resolution on time only 6 times,
       missing the deadline by an average of 40 days.

       - Congress has almost never met the CBA deadline for its 12 annual appropriations
       bills, often resorting to omnibus spending bills to rush appropriations through.

       TRANSCRIPT

       Crooked Joe Biden, our disgraced president, has wasted trillions of taxpayer dollars in
       less than three years—causing uncontrolled inflation that is crushing working
       families.

       Reining-in Biden’s wasteful and unnecessary spending is vital to stopping inflation
       and rescuing our economy from ruin. But the pain of the spending cuts must be
       borne by the special interests and Washington bureaucrats, NOT by American
       families and American seniors in particular.

       For 200 years under our system of government, it was undisputed that the President
       had the Constitutional power to stop unnecessary spending through what is known
       as Impoundment.

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       Very simply, this meant that if Congress provided more funding than was needed to
       run the government, the President could refuse to waste the extra funds, and instead
       return the money to the general treasury and maybe even lower your taxes, although
       we did give you the biggest tax reduction in history, and the biggest regulation
       reduction in history, two things I am very proud of. And they still are there, although
       they are disappearing rapidly under Biden.

       Thomas Jefferson famously used this power, as did many other presidents until it
       was wrongfully curtailed by the Impoundment Control Act of 1974 – not a very good
       act. This disaster of a law is clearly unconstitutional—a blatant violation of the
       separation of powers.

       When I return to the White House, I will do everything I can to challenge the
       Impoundment Control Act in court, and if necessary, get Congress to overturn it. We
       will overturn it.

       I will then use the president’s long-recognized Impoundment Power to squeeze the
       bloated federal bureaucracy for massive savings. This will be in the form of tax
       reductions for you. This will help quickly to stop inflation and slash the deficit.

       To prepare for this eventuality, on Day One, I will order every federal agency to begin
       identifying large chunks of their budgets that can be saved through efficiencies and
       waste reduction using Impoundment.

       Of course, this will not include national defense and, unlike Ron DeSanctimonious,
       who doesn’t really know what is happening, I will not lay a finger on Medicare or
       Social Security. He wants to destroy Social Security and basically obliterate Medicare.
       These are benefits for our seniors. We are not going to touch it. There are many other
       things we can do. We are not going to let Ron DeSanctus do anything to hurt
       Medicare or Social Security.

       On the contrary, some of the funds we save through Impoundment from other parts
       of the government can be used to strengthen Medicare and Social Security for years
       to come.

       Reasserting the president’s historic Impoundment authority will also restore critical
       negotiating leverage with Congress to keep spending under control. Very simple. We
       are going to keep spending under control.
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       We had it done and then Covid came in and we had to do some things to help save
       our country. We did a great job. But we were starting to make lots of money. We were
       Energy Independent. We were going to be Energy Dominant. We were going to be
       taking in massive amounts of money from the liquid gold that we have under our
       feet. More than any other nation. And we were going to reduce taxes and pay off
       debt.

       This is the ONLY way we will ever return a balanced budget: Impoundment.

       Just as importantly, bringing back Impoundment will give us a crucial tool with
       which to obliterate the Deep State, Drain the Swamp, and starve the Warmongers –--
       these people that want wars all over the place; killing, killing, killing, they love killing -
       -- and the Globalists out of government.

       We are going to get the Warmongers and the Globalists out of our government.

       With Impoundment, we can simply choke off the money.

       This policy is anti-inflation, anti-Swamp, anti-globalist—and it’s pro-growth, pro-
       taxpayer, pro-American, and pro-freedom.

       I alone can get that done. I will get it done and Make America Great Again.

       Thank you very much.




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    GOATS AND SODA

   Why does Musk want USAID 'to die'? And why did its website disappear?
   UPDATED FEBRUARY 3, 2025 · 4:28 PM ET

   By Melody Schreiber




   A USAID officer watches as a U.S. military cargo plane taxis to a stop at Kathmandu's international airport in the
   wake of the 2015 earthquake. The agency funds projects that aim to alleviate poverty and disease and meet
   humanitarian needs around the world.
   Roberto Schmidt/AFP via Getty Images/AFP




   It's been a tumultuous weekend for USAID — the U.S. Agency for International
   Development. On Saturday sometime after 3 a.m., its website went down,
   according to the Internet Archive, a nonprofit group that tracks web pages.

   Some browsers display the error message: "This site can't be reached. Check if
   there is a typo in www.usaid.gov."

   The agency's account on X (formerly Twitter) has also been deleted.



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                                                                                                                  and Soda NPR47
   Early Monday morning, Elon Musk, speaking during a live "Space" conversation on
   X, said his Department of Government Efficiency is in the process of "shutting
   down USAID."


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   The day before, Musk wrote on X that USAID is a "criminal organization."

   "It needs to die," he wrote.


   Criticisms leveled at USAID
   Musk has voiced numerous criticisms of the agency on X, citing "corruption and
   waste." He has assserted that only 10% of funds reach communities abroad and
   that USAID pays for undocumented crossings into the U.S. and funds abortion
   services.

   Speaking at a press conference on Monday, Secretary of State Marco Rubio
   announced that he is now the acting administrator of USAID. He spelled out the
   Trump administration's criticisms of the agency, noting that "it's supposed to
   respond to policy directives of the State Department, and it refuses to do so."

   "Everything they do" has to be aligned with U.S. foreign policy," he explained. "And
   the attitude that USAID has adopted over the years is no, we are independent of
   the national interest." He characterized that attitude as "ridiculous."

   He emphasized that this is not a blanket condemnation of USAID. "There are
   things that [USAID] does that are good and there are things that it does that we
   have strong questions about."

   Musk also spoke of USAID at a panel discussion early Monday that he shared with
   Sen. Joni Ernst, R-Iowa, who has long tried to push for more oversight of USAID;
   Vivek Ramaswamy; and Sen. Mike Lee, R-Utah. Musk said he had the support of
   President Trump.


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   "None of this could be done without the full support of the president, you know.
   And with regard to the USAID stuff, I went, went over it with him, you know, in
   detail, and he agreed with that we should, we should shut it down," he said.


   An online change
   In the wake of the removal of the website, online information about USAID, which
   is responsible for funding aid projects around the world and managed more than
   $40 billion in federal spending in 2023, is available at a new page that is part of
   the State Department's website. That page was captured for the first time on Jan.
   27, according to the Internet Archive.

   There are seven items in this USAID section — a drastic reduction of the reports
   and information on the original USAID.gov website, which covered the wide range
   of the agency's portfolio, from humanitarian assistance and global health to
   education and conflict prevention.

   The first item that appears on the State web page is a press release:
   "Implementing the President's Executive Order on Reevaluating and Realigning
   United States Foreign Aid."

   President Trump temporarily halted foreign assistance in that order on the first
   day of his presidency, writing that foreign aid serves to "destabilize world peace."

   The State Department and USAID did not respond to NPR's media inquiries about
   the website termination and the future of the agency.


   What's the fate of USAID?
   The move appears amid questions about the fate of the aid agency, with concerns
   in the aid community that USAID may be folded into the State Department or
   eliminated altogether.

   The deletion of the website and social media accounts alongside significant
   layoffs and the near-total suspension of work is an effort to dismantle USAID
   entirely, Jeremy Konyndyk told NPR. Konyndyk led disaster relief under Obama
   and the COVID and mpox responses under Biden at USAID. He's currently
   president of the aid group Refugees International.




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   "They're trying to eliminate the agency," Konyndyk said.

   "They have announced no plan and given no rationale — they're just taking
   everything down," Konyndyk said. "They're trying to do it behind the scenes rather
   than openly," he said, so they don't have to "defend what they're doing" in
   announcements to the public.

   The consequences of a diminished or erased USAID would be dire, Konyndyk
   said, noting that one key component of its programs is keeping outbreaks and
   epidemics from reaching U.S. shores.

   USAID is "enduring an unlawful shutdown, purge, and dismantling," wrote Dr. Atul
   Gawande, former assistant administrator for global health at USAID, in a post on
   Bluesky on Sunday.

   The dissolution would extend beyond "the unlawful destruction of USAID's life-
   saving work," Gawande told NPR. "USAID has become the place where the
   administration is demonstrating and developing its playbook for eviscerating other
   targeted agencies."

   The web shutdown comes in the wake of both the stop work order and the
   furloughing or laying off of hundreds of USAID employees. In his first two weeks
   in office, the Trump administration placed senior leadership at USAID on leave
   and laid off or furloughed more than 400 contractors in the agency's Bureau for
   Humanitarian Assistance and also laid off hundreds more in its Global Health
   Bureau.

   Democratic lawmakers in Congress are decrying these actions. The dissolution of
   USAID would be "illegal and against our national interests," Sen. Chuck Schumer
   posted on Bluesky Friday evening.

   Sen. Chris Murphy said in a post on X on Saturday that the "total destruction" of
   USAID was "happening as we speak" and would be "cataclysmic."


   A question of legality



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   The question of the legality of any attempt to change the status of USAID is
   connected to its origins. The agency was created in 1961 when President John F.
   Kennedy signed an executive order after Congress passed the Foreign Assistance
   Act, which mandated the creation of an independent agency to focus on
   development separate from politics and the military. The agency was formally
   established by Congress as an independent agency in 1998.




   That means "it cannot just be undone, at this point, by an executive order,"
   Konyndyk said. "To actually disestablish the agency and dissolve it into the State
   Department will take an act of Congress."

   In the past, USAID has enjoyed bipartisan support, including from lawmakers like
   Sen. Lindsey Graham and Sen. Mitch McConnell, he noted.

   Melody Schreiber is a journalist and editor of What We Didn't Expect: Personal
   Stories About Premature Birth.

   NPR's Luke Garrett contributed reporting.

     trump's presidential transition   usaid   state department




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    Elon Musk said Donald Trump agreed
    USAID needs to be ‘shut down’
    By Jennifer Hansler, Alex Marquardt and Lex Harvey, CNN
         5 minute read · Updated 7:48 AM EST, Mon February 3, 2025




                         Alex Marquardt reports two top USAID security officials on leave amid
                         dispute over DOGE access
                         03:18




https://www.cnn.com/2025/02/02/politics/usaid-officials-leave-musk-doge/index.html                                             1/14
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    (CNN) — Elon Musk said President Donald Trump agreed the US Agency for International
    Development needs to be “shut down,” following days of speculation over the future of the
    agency after its funding was frozen and dozens of its employees were put on leave.

    “With regards to the USAID stuff, I went over it with (the president) in detail and he agreed that
    we should shut it down,” Musk said in a X Spaces conversation early Monday.

    Musk said he checked with Trump “a few times” and Trump confirmed he wants to shut down
    the agency, which dispenses billions in humanitarian aid and development funding annually.
    CNN has reached out to the White House and USAID for comment.

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    Sunday evening, before the X Spaces conversation, when asked for comment on USAID, Trump
    told reporters: “It’s been run by a bunch of radical lunatics, and we’re getting them out, and
    then we’ll make a decision” on its future.

    Musk’s comments come after two top security officials at USAID were put on administrative
    leave Saturday night for refusing members of the Department of Government Efficiency access
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https://www.cnn.com/2025/02/02/politics/usaid-officials-leave-musk-doge/index.html                                          2/14
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                                                                                                     CNN Politics
    to systems at the agency, even when DOGE personnel threatened to call law enforcement,
    multiple sources familiar with the situation told CNN.



    Around 60 senior USAID staff were put on leave last week on accusations of attempting to
    circumvent Trump’s executive order to freeze foreign aid for 90 days. Another senior official was
    put on leave for trying to reverse that move after finding no evidence of wrongdoing.

    In the X Spaces conversation early Monday, which he co-hosted with Republican Sen. Joni
    Ernst of Iowa and Vivek Ramaswamy – who was initially named co-chair of DOGE with Musk but
    has since left – the X owner called USAID “incredibly politically partisan” and said it has been
    supporting “radically left causes throughout the world including things that are anti-American.”

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    Musk said USAID is “beyond repair,” among other attacks he made against the agency created
    by Congress as an independent body.

    We don’t have “an apple with a worm in it,” he said. “We have a ball of worms.”

    “USAID is a ball of worms.”

    USAID was established in 1961 under President John F. Kennedy’s administration and is the US
    government’s humanitarian arm. It dispenses billions of dollars annually across the world in an
    effort to alleviate poverty, treat diseases, and respond to famines and natural disasters. It also
    promotes democracy building and development by supporting non-government organizations,
    independent media and social initiatives.

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    USAID is a key soft power tool of the US to foster relations with communities around the world,
    officials say, noting that US national security is approached with the “three D” pillars: defense,
    diplomacy and development, led, respectively, by the Defense Department, State Department
    and USAID.


    DOGE personnel gained access to USAID files, sources say
    According to sources, personnel from the Musk-created office first physically tried to access
    the USAID headquarters in Washington, DC, and were stopped. The DOGE personnel
    demanded to be let in and threatened to call US Marshals to be allowed access, two of the
    sources said.

    The DOGE personnel wanted to gain access to USAID security systems and personnel files,
    three sources said. Two of those sources also said the DOGE personnel wanted access to
    classified information, which only those with security clearances and a specific need to know
    are able to access.

    Three sources told CNN that in the end, the DOGE personnel were eventually able to access the
    headquarters.

    The incident, which had not been previously reported, is the latest showdown as the Trump-
    affiliated DOGE seeks to exert increasing authority over the federal government as it aims to
    slash spending.

    In a letter to Secretary of State Marco Rubio Sunday, Democratic members of the US Senate
    Foreign Relations Committee requested “an immediate update about the access of USAID’s
    headquarters, including whether the individuals who accessed the headquarters were
    authorized to be there and by whom.”

    “The potential access of sensitive, even classified, files, which may include the personally
    identifiable information (PII) of Americans working with USAID, and this incident as a whole,
    raises deep concerns about the protection and safeguarding of matters related to U.S. national
    security,” the letter said.

    The Senators also wrote that “any effort to merge or fold USAID into the Department of State
    should be, and by law must be, previewed, discussed and approved by Congress.

    Katie Miller, whom Trump named to DOGE in December, on Sunday appeared to confirm that
    DOGE personnel had accessed classified information.

    “No classified material was accessed without proper security clearances,” she posted on X.

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    On Sunday, in response to CNN’s report about the incident, Musk said that “USAID is a criminal
    organization.”

    “Time for it to die,” he posted on X.

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    Other top Trump officials, such as Stephen Miller, who serves as deputy chief of staff for policy
    at the White House, have also taken aim at USAID, accusing its workforce of being
    overwhelmingly Democrats.

    On Saturday, USAID’s website went dark and a new page for the agency appeared on the State
    Department website. USAID’s X account also went offline Saturday.

    A source told CNN that the entire USAID public affairs office was put on leave and locked out of
    their systems.

    Shortly after being sworn in last month, Trump issued a sweeping executive order pausing all
    foreign aid for 90 days, leading to widespread confusion, layoffs and program shutdowns.

    USAID Director of Security John Voorhees and his deputy are among dozens of USAID officials
    who have been put on leave amid fears that the agency is being intentionally dismantled — a
    move that some aid officials argue would have massive negative implications.

    Aid officials argue the State Department isn’t equipped to take over and sustain USAID’s vast
    number of development projects. It would also erase, they argue, unique and essential soft
    power that can’t be replicated.

    The State Department doesn’t “have the capacity, the expertise, the training to do that kind of
    work. It is a completely separate line of effort that is undertaken on the ground,” a former senior
    USAID official said.

    “The one element of the US government bureaucracy on the ground in foreign places that has
    been able to get out beyond the wire and actually have a deeper understanding of the places in
    which we work is USAID,” the former official continued, requesting anonymity due to growing
    and widespread fears of being targeted by the Trump administration.

    “That ability to work in that way, that culture — and it is a culture I think — gets lost. And with it,
    I think we lose an enormous, incredibly valuable tool of US foreign policy. We’re basically going
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    to be punching with one arm behind our back,” the person said.

    This story and headline have been updated with additional reporting.



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